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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                       Magistrate Judge Maritza Dominguez Braswell

Civil Action No. 25–cv–00856–REB–MDB


JEREMY FORTUNE,

       Plaintiff,

v.

EXPERIAN INFORMATION SOLUTIONS, INC.,
EQUIFAX INFORMATION SERVICES, LLC,
TRANS UNION, LLC, and
AMERICAN CREDIT ACCEPTANCE, LLC,

       Defendants.


                     ORDER SETTING INITIAL CASE DEADLINES


       This case has been referred to Magistrate Judge Maritza Dominguez Braswell by District
Judge Robert E. Blackburn, pursuant to the Order of Reference filed March 17, 2025. See 28
U.S.C. §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

       IT IS HEREBY ORDERED:

     (1)   A Scheduling Conference will not be set unless:

               a. The Court determines that a Scheduling Conference is necessary for any
                  reason including, clarification, efficiencies, or to avoid unnecessary delays
                  based on the parties’ proposed discovery deadlines; or

               b. The parties file a Proposed Scheduling Order With Disputed Issues, pursuant
                  to Section (4) below.

     (2)   The parties shall submit their Proposed Scheduling Order, pursuant to District of
           Colorado Electronic Case Filing (“ECF”) Procedures, on or before:

                                           May 14, 2025.
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          A copy of instructions for the preparation of a scheduling order and a form scheduling
          order can be downloaded from the Court’s website at
          www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx.

    (3)   The parties shall prepare the appropriate Proposed Scheduling Order in accordance
          with the Court’s form.

    (4)   In the event the parties disagree on any deadline or limitation, they shall file a
          Proposed Scheduling Order with competing deadlines and/or proposals, and alert
          the Court to the fact that there are disputed issues by using the following title in
          the Docket Text: “Proposed Scheduling Order With Disputed Issues”

    (5)   The parties shall confer in accordance with Fed. R. Civ. P. 26(f). The parties may
          meet by telephone conference. All parties are jointly responsible for arranging and
          attending the Rule 26(f) meeting.

    (6)   During the Rule 26(f) meeting, the parties shall:
            a. discuss the nature and basis of their claims and defenses,
            b. make or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1),
            c. develop their proposed scheduling/discovery plan,
            d. discuss the possibility of informal discovery, such as conducting joint
                interviews with potential witnesses, joint meetings with clients, depositions
                via telephone, or exchanging documents outside of formal discovery, and
            e. discuss the need for any special arrangements such as site visits, protective
                orders, interpreters, etc., and
            f. discuss the possibilities for a prompt settlement or resolution of the case.

    (7)   In those cases in which:
              a. the parties’ substantive allegations involve extensive computer-generated
                  records; or
              b. a substantial amount of disclosure or discovery will involve information or
                  records in electronic form (i.e., e-mail, word processing, databases); or
              c. expert witnesses will develop testimony based in large part on computer data
                  and/or modeling; or
              d. any party plans to present a substantial amount of evidence in digital form at
                  trial,
           the parties shall confer regarding steps they can take to preserve computer records
           and data, facilitate computer-based discovery and who will pay costs, resolve
           privilege issues, limit discovery costs and delay, and avoid discovery disputes
           relating to electronic discovery.

    (8)   The parties shall provide a brief overview of these issues and any agreed upon
          arrangements, in the Proposed Scheduling Order.

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    (9)   Sections (5) through (7) above set forth the minimum requirements for the Rule 26(f)
          meeting. The parties are encouraged to have a comprehensive discussion and are
          required to approach the meeting cooperatively and in good faith. The parties are
          reminded that the purpose of the Rule 26(f) meeting is to expedite the disposition of
          the action, discourage wasteful pretrial activities, and improve the quality of any
          eventual trial through more thorough preparation. The discussion of claims and
          defenses shall be a substantive, meaningful discussion. The parties are reminded
          that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be sought prior to the Rule
          26(f) meeting.

    (10) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
         P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
         encompass computer-based evidence which may be used to support claims or
         defenses. Mandatory disclosures must be supplemented by the parties consistent with
         the requirements of Fed. R. Civ. P. 26(e). Mandatory disclosures and
         supplementation are not to be filed with the Clerk of the Court.

    (11) In the event the parties require the Court’s assistance before filing a Proposed
         Scheduling Order, they can request a Pre-Scheduling Conference by filing a 1-
         page joint letter motion that briefly sets forth:
            a. The matters in dispute; and
            b. The reason(s) a Pre-Scheduling Conference will assist the parties in resolving
                their dispute(s); and
            c. A request that the Court set a Pre-Scheduling Conference, along with any
                dates that will not work for the parties.

    (12) Where one or more parties are pro se, the court encourages the parties to request a
         Pre-Scheduling Conference, which can be helpful in streamlining processes.

    (13) Pro se parties not participating in ECF shall submit their Proposed Scheduling Order
         on paper to the Clerk’s Office. However, if any party in the case is participating in
         ECF, it is the responsibility of that party to submit the Proposed Scheduling Order
         pursuant to the District of Colorado ECF Procedures.

    (14) All parties are expected to be familiar with the United States District Court for the
         District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are
         available from Office of the Clerk, United States District Court for the District of
         Colorado, or through the District Court’s web site: www.cod.uscourts.gov.




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    (15) The plaintiff(s) or, on removed cases, the defendant(s), shall provide a copy of this
         Order to all parties who have not yet entered an appearance.

     Dated this 21st day of March, 2025.

                                                   BY THE COURT:



                                                   _________________________________
                                                   Maritza Dominguez Braswell
                                                   United States Magistrate Judge




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